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1                     UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
2                          EASTERN DIVISION

3                                - - - - -

4        UNITED STATES OF AMERICA,                 )
                                                   )
5                                 Plaintiff,       )    Case No.
                                                   )
6                     vs.                          )    1:22CR721
                                                   )
7        ISAAC WOOLLEY,                            )
                                                   )
8                                 Defendant.       )

9
10                               - - - - -

11          TRANSCRIPT OF PROCEEDINGS HAD BEFORE MAGISTRATE

12          JUDGE JONATHAN D. GREENBERG, MAGISTRATE JUDGE OF

13             SAID COURT, ON THURSDAY         , JUNE 27TH, 2023,

14                 COMMENCING AT 1:24 O'CLOCK P.M.

15                               - - - - -

16
17       Court Reporter:                     GEORGE J. STAIDUHAR
                                             801 W. SUPERIOR AVE.,
18                                           SUITE 7-184
                                             CLEVELAND, OHIO 44113
19                                           (216) 357-7128

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1         APPEARANCES:
2             On behalf of the Government:
3
                 OFFICE OF THE U.S. ATTORNEY
4                BY: BRIAN S. DECKERT, AUSA
                      DANIEL J. RIEDL, AUSA
5                801 W. Superior Avenue, Suite 400
                 Cleveland, OH 44113
6
7             On behalf of the Defendant:
8                ANTHONY J. VEGH, ESQ.
                 220 Leader Building
9                526 Superior Ave., E
                 Skylight Office Tower, Suite 750
10               Cleveland, OH 44114
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1                         PROCEEDINGS
2                       THE COURT: Thank you. Please be seated.
3                       (Case called.)
4                       THE COURT: Good morning. On behalf -- good
5      afternoon -- on behalf of the United States?
6                       MR. DECKERT: Good afternoon, your Honor.
7      Brian Deckert on behalf of the United States, and seated
8      with me at counsel table is Dan Riedl.
9                       THE COURT: Mr. Deckert, will you be
10     speaking on behalf of the United States?
11                      MR. DECKERT: I will, your Honor.
12                      THE COURT: Very well. On behalf of the
13     Defendant?
14                      MR. VEGH: Tony Vegh on behalf of
15     Isaac Woolley. Good afternoon.
16                      THE COURT: Good afternoon. Sir, you are
17     Isaac Woolley?
18                      THE DEFENDANT: Yes, your Honor.
19                      THE COURT: Can you speak into that
20     microphone for me so I can hear you?
21                      THE DEFENDANT: Yes, your Honor.
22                      THE COURT: Good afternoon.
23                      THE DEFENDANT: Good afternoon, sir.
24                      THE COURT: We are here this afternoon for a
25     scheduled detention hearing.
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1                       Mr. Deckert, for purposes of today's
2      proceedings, would you please state the charges and
3      penalties?
4                       MR. DECKERT: Yes, your Honor. Mr. Woolley
5      was charged in a multiple count indictment by a Grand
6      Jury sitting in the Northern District of Ohio, returned
7      December 15, 2022.
8                       It is a six-count indictment. The first
9      count alleges a violation of Title 49 of the United
10     States Code, Sections 4631(4)(a) and (b)(2), entering
11     aircraft or airport area in violation of security
12     requirements.
13                      It carries a maximum term of imprisonment of
14     10 years, a fine of $250,000 maximum, a maximum term of
15     supervised release of three years, and a $100 special
16     assessment.
17                      Count 2 is a violation of Title 18 of the
18     United States Code, Section 37(a)(2), violence at
19     international airports, a maximum term of imprisonment of
20     20 years, a maximum fine of $250,000, maximum term of
21     supervised release of three years, and a $100 special
22     assessment.
23                      Counts 3 and 4 are violations of Title 18 of
24     the United States Code, Section 2119(1), carjacking.
25                      It is 25 years maximum imprisonment, a
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1      maximum fine of $250,000, a maximum term of supervised
2      release of five years, and a $100 special assessment.
3                       Count 5 is a violation of Title 18 United
4      States Code, Section 32(a)(3), destruction of aircraft or
5      aircraft facilities.
6                       It is a maximum term of imprisonment of
7      20 years, a maximum fine of $250,000, maximum term of
8      supervised release of three years, and a $100 special
9      assessment.
10                      Count 6 finally is a violation of Title 18
11     United States Code, Section 32(a)(5), destruction of
12     aircraft or aircraft facilities, again as above, a
13     20-year maximum imprisonment term, maximum fine of
14     $250,000, maximum three-year supervised release term, and
15     a $100 special assessment
16                      THE COURT: Mr. Deckert, is this a
17     presumption matter?
18                      MR. DECKERT: Your Honor, this is a
19     presumption, a rebuttable presumption of detention.
20                      THE COURT: Thank you very much.
21                      Now, Mr. Woolley, you have a constitutional
22     right to be represented by an attorney at every stage of
23     these proceedings. If you are unable to afford an
24     attorney, the Court will appoint one to represent you at
25     no cost.
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1                       Sir, do you understand your right to an
2      attorney?
3                       THE DEFENDANT: Yes, your Honor.
4                       THE COURT: Now, Mr. Tony Vegh is the
5      attorney who has previously been appointed to represent
6      you in this matter.
7                       Is that correct?
8                       THE DEFENDANT: Yes, your Honor.
9                       THE COURT: Now, Mr. Woolley, you also have
10     a right to remain silent. You are not required to make a
11     statement, and anything you say may be used against you.
12     If you start to make a statement you may stop at any
13     time. And you also may consult with your attorney,
14     Mr. Vegh, at any time.
15                      Do you understand your right to remain
16     silent?
17                      THE DEFENDANT: Yes, your Honor.
18                      THE COURT: Very well. Mr. Deckert, is the
19     United States prepared to proceed?
20                      MR. DECKERT: It is, your Honor.
21                      THE COURT: Mr. Vegh, are you prepared to
22     proceed?
23                      MR. VEGH: Yes, your Honor.
24                      THE COURT: Very well. Mr. Deckert, go
25     ahead.
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1                       MR. DECKERT: Your Honor, the Government
2      would proffer for the Court's consideration as part of
3      its presentation Exhibits 1, 2, and 3, which had been
4      previously provided to Court staff and provided in paper
5      form for the Court's consideration. They provided to
6      Mr. Vegh previously as well.
7                       For the record, Exhibit 1 is a memorandum in
8      support of pretrial detention that the Government filed
9      under Magistrate Judge No. 1:22MJ9279.
10                      At the time of Mr. Woolley's arrest, a
11     criminal complaint was filed, and this memorandum was
12     filed in support. In summary, it sets forth some of the
13     factual background of the case that makes up the charges
14     in the indictment, including some of the facts related to
15     the two carjackings as well as the videos from
16     Mr. Woolley driving a car through Cleveland Hopkins
17     International Airport --
18                      THE COURT: Mr. Deckert, sorry to interrupt
19     you. When you say "facts," you mean the allegations?
20                      MR. DECKERT: That's correct, your Honor.
21                      THE COURT: You can remain seated if you
22     like. I think we are mostly concerned with making sure
23     that you speak into the microphone so we can get down
24     everything you say.
25                      MR. DECKERT: Okay. Thank you, your Honor.
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1                       It also provides some of the legal
2      justification as well. Your Honor, the memorandum
3      provides some further information related to the risk of
4      flight in that being recorded jail communications that
5      were made or that were collected after his arrest.
6                       The calls, the coded statements in the
7      memorandum, are of the Defendant that he makes on his
8      communications, that include descriptions of why he did
9      what he did, statements of leaving the country, and
10     things like that. I'm sorry. The statements that he
11     would do it again.
12                      And also, your Honor, there is a description
13     of an incident in September of 2022 where the Defendant
14     left home and was -- his whereabouts were unknown for
15     seven days.
16                      And ultimately, when Cleveland Police spoke
17     with him, he had indicated at that time that he was
18     intending to leave the country to go to the Ukraine and
19     participate in the military operations there.
20                      The second exhibit is the complaint, which
21     sets forth an affidavit, and the allegations that make up
22     the complaint also are identical to the ones that make up
23     the superseding indictment as far as same justification
24     for the charges in the indictment.
25                      The third is a competency evaluation report
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1      that was ordered by the Magistrate Judge's initial
2      appearance.
3                       Your Honor, I would submit this under seal
4      for the Court's consideration. I will not go into
5      everything at argument about it, your Honor, for obvious
6      reasons, but I think there are some salient points
7      regarding risk of flight and danger for the community in
8      there.
9                       So I would reserve for argument, your Honor,
10     after those proffers.
11                      THE COURT: Any objection, Mr. Vegh, on the
12     admission of Exhibits -- Government's Exhibit 3?
13                      MR. VEGH: No.
14                      THE COURT: Very well. Do you have anything
15     further to proffer on behalf of the United States?
16                      MR. DECKERT: No, your Honor.
17                      THE COURT: Thank you, Mr. Deckert.
18                      Mr. Vegh, anything to proffer, any witnesses
19     to put forward?
20                      MR. VEGH: I have no witnesses. I would
21     like to proffer to the Court.
22                      May I stand at the podium?
23                      THE COURT: Yes.
24                      MR. VEGH: Mr. Deckert mentioned some phone
25     conversations that were recorded shortly after my
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1       client's arrest. There is almost 200 phone
2       conversations. I have listened to them all.
3                       THE COURT: I'm sorry to interrupt you
4       before you even start.
5                       I am just looking -- I am going to give you
6       all the time you want to argue.
7                       MR. VEGH: Uh-huh.
8                       THE COURT: I just want to know your
9       proffers right now.
10                      MR. VEGH: My proffers simply though -- I'm
11      sorry, Judge. Excuse me.
12                      THE COURT: Okay.
13                      MR. VEGH: Like most lawyers, it got right
14      into argument.
15                      My only proffer is my client's DD Form
16      214.
17                      THE COURT: For the record, that is his
18      discharge from active duty?
19                      MR. VEGH: Correct.
20                      THE COURT: Very well. If you are
21      comfortable at the podium, I think I am going to have the
22      United States argue first. I will stick to my normal
23      procedure.
24                      Anything further on behalf of the Defendant
25      before we go to argument?
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1                       MR. VEGH: Other than that proffer and
2       argument.
3                       THE COURT: Very well. That Defendant's
4       Exhibit A for proffer.
5                       Argument on behalf of the United States?
6                       MR. DECKERT: Thank you. Your Honor, I
7       would likewise like to use the podium.
8                       THE COURT: Please help yourself.
9                       MR. DECKERT: Your Honor, as stated in the
10      beginning, this is a case involving a rebuttable
11      presumption that no condition or combination of
12      conditions will reasonably assure the appearance of the
13      person as required and the safety of the community.
14                      That's, in part, that is due to Mr. Woolley
15      being charged with an offense listed in Section
16      2332(b)(G)(5)(b) of Title 18 of the United States Code
17      for which there is a maximum term of imprisonment of ten
18      years or more.
19                      For the record, Counts 1, 5, and 6 are
20      indeed listed in 2332(b)(G)(5)(b), and they are all
21      punishable by ten years or more, punishable by ten years
22      or more of imprisonment.
23                      Now, a Grand Jury indictment itself
24      establishes probable cause to believe that a Defendant
25      committed the crime for which he is charged.
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1                       That is pursuant to United States versus
2       Hazen, 762 F.2d 34, Sixth Circuit 1985.
3                       So based upon that and Title 18 United
4       States Code, Section 3142(e)(3)(C), that presumption
5       exists, and that imposes only a burden of production on
6       the Defendant. The Government retains the burden of
7       persuasion in this matter.
8                       Now, a Defendant will satisfy his burden
9       of production if he comes forward with evidence that he
10      does not pose a danger to the community or risk of
11      flight.
12                      That's pursuant to United States versus
13      Mercedes 254 F.3d 433, Second Circuit 2001.
14                      Now, a Defendant's burden of production is
15      not heavy, but he must introduce, at least, some
16      evidence. A Defendant must introduce some evidence
17      contrary to presumed fact in order to rebut the
18      presumption.
19                      I would argue in this case that there has
20      not been sufficient evidence put forward to rebut that
21      presumption. But otherwise, the Government does retain
22      that burden of persuasion.
23                      Now, in assessing the risk of flight and
24      danger to the community presumed by the Government, the
25      Court must assess several factors.
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1                       First, the nature and circumstances of the
2       offense charged; the weight of the evidence against the
3       Defendant; the history and characteristics of the
4       Defendant; and the nature and seriousness of the danger
5       to any person or the community that would be posed by the
6       person's release.
7                       THE COURT: Mr. Deckert, knowing the
8       Pretrial Services Report in as a proffer, is that
9       something you and Mr. Vegh would agree would be a joint
10      exhibit for purposes of today's hearing?
11                      MR. DECKERT: Yes, your Honor.
12                      THE COURT: Very well. Go ahead. Thank
13      you.
14                      MR. DECKERT: Now, those four factors that
15      are set forth in 3142(g)(1) through 4 the Government
16      argues they favor detention of Mr. Woolley.
17                      First, looking at the nature and
18      circumstances of the offense charged, again, they are the
19      crimes -- they include crimes listed in 18 United States
20      Code, Section 2332(b)(G)(5)(b), also includes two crimes
21      of carjacking, which are considered crimes of violence
22      that had been categorized as crimes of violence under
23      924(c) by the Sixth Circuit in United States versus
24      Jackson, 918 F.3d, 467. That's Sixth Circuit 2019.
25                      So you have multiple offenses that qualify
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1       as crimes of violence under the nature and circumstances
2       of the offense charged.
3                       Further, looking at the complaint affidavit,
4       some of the facts set forth or the allegations set forth
5       in the memorandum, just briefly that the Defendant did by
6       force take two motor vehicles from victims, drove one
7       through a barrier onto a runway in Cleveland Hopkins
8       International Airport, causing damage to the lights
9       and the runway itself, requiring it to be shut down
10      while international airplanes were in the air and
11      causing a delay and, obviously, the redirection of
12      flights, some flights from Cleveland Hopkins
13      International Airport.
14                      Looking next at the weight of the evidence
15      against the person, now, this is the weight of the
16      evidence of dangerous. It is not the evidence going to
17      guilt but the evidence of dangerous.
18                      And I think, your Honor, that goes back to
19      the nature and circumstances of the offense as well as
20      Exhibit 3, which is the competency evaluation of the
21      Defendant, and that leads to the history and
22      characteristics of the person.
23                      There are several factors put forth that the
24      Court should look at, including the mental condition and
25      physical condition of the Defendant, his family ties, his
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1       employment, past conduct, drug or alcohol use, and your
2       Honor, I don't want to go too in depth in Exhibit 3, I am
3       sure the Court can review it, but there are multiple
4       instances of the Defendant not taking medications he has
5       been prescribed, multiple hospitalizations at facilities
6       involving the Defendant inexplicably leaving the state
7       and driving in this case at late night.
8                       And in this case, that is, indeed, what
9       happened or at least involved driving a car at night and
10      leaving the house.
11                      THE COURT: Is it the United States'
12      argument that he is a threat to the safety of the
13      community; that he is -- there is no reason to assure his
14      appearance or both?
15                      MR. DECKERT: Both, your Honor. It would be
16      both.
17                      THE COURT: So you've just given me
18      some examples of why you think his appearance may be
19      an issue.
20                      MR. DECKERT: Yes, your Honor.
21                      THE COURT: Why don't you give me some
22      specifics without -- I appreciate the case law -- but
23      give me some specifics as relates to this case that
24      indicate to me why he is a threat of danger to the
25      community.
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1                       MR. DECKERT: Your Honor -- and to be -- let
2       me put it forward this way:
3                       The statute is not just that he is a danger
4       to the community, but any person as well, any one person
5       or the community.
6                       THE COURT: Correct.
7                       MR. DECKERT: To start with, first, the
8       Defendant, I believe, is a danger to himself.
9                       THE COURT: Okay. Okay.
10                      MR. DECKERT: He has had three prior
11      attempts and ideations. There have been -- now the
12      Defendant is facing criminal charges with lengthy prison
13      sentences, access to firearms or actually, your Honor, I
14      take that back. I don't know if they have been removed
15      from the home, so I won't state that.
16                      So you have danger to himself, danger to
17      others, the Defendant's statements, arrest is that the
18      motivation for this was due to a belief of his children
19      being in danger, and that he stated that he would do it
20      again over and over again if he could, and that he wanted
21      to be a martyr.
22                      So these types of language, this language
23      and kinds of words indicate to the Government a danger to
24      the community as well.
25                      The next --
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1                       THE COURT: Well, what about the allegations
2       in the complaint of the activity?
3                       Does that indicate to me that he is a danger
4       to the community?
5                       MR. DECKERT: Well, yes, your Honor. The
6       allegations are that he randomly chose two individuals in
7       the community and forcibly took their vehicles. One
8       person was dragged for approximately 150 feet and
9       suffered injuries, not to mention all the danger to the
10      individuals who were at the airport or in the air at the
11      time of his alleged actions.
12                      THE COURT: Anything further on behalf of
13      the United States?
14                      MR. DECKERT: Your Honor, just the other
15      factors that were listed under history and
16      characteristics of the person.
17                      Family ties, I believe his only family tie
18      in the community is his current wife. He described that
19      he has no contact with his other family members.
20                      I do not believe he has --
21                      THE COURT: I believe he maintains a
22      relationship with his brother. Is that right? I am just
23      looking at the Pretrial Services Report.
24                      MR. DECKERT: You are right, your Honor.
25      There was an interview.
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1                       I do not believe he had an active employment
2       at the time, and there was some mention in the report,
3       the competency report, that there was use of alcohol and
4       drugs during some of the interactions that led him to be
5       hospitalized.
6                       So your Honor, I think for all those reasons
7       the defense cannot rebut the presumption that there are
8       no condition or combination of conditions that would
9       reasonably assure Mr. Woolley's appearance or protect the
10      community.
11                      Thank you.
12                      THE COURT: Thank you very much,
13      Mr. Deckert.
14                      Mr. Vegh?
15                      MR. VEGH: Your Honor, I would like to
16      address a few things that Mr. Deckert brought up on
17      behalf of Mr. Woolley.
18                      As far as phone conversations, as I was
19      beginning to say, there is 200 out of them, listened to
20      them all. The Government has chosen a portion of one of
21      those conversations in his case. I understand why they
22      are using it.
23                      I could play conversation after conversation
24      where this man is weeping of being totally distraught,
25      destroyed, very sorry, saying very sorry for what he is
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1       charged with, and how it has ruined his life. I can play
2       many of those for the Court.
3                       As far as him going away, walking away for
4       seven days, every once in a while I go away for three or
5       four days to fish. My wife has a party when I am gone.
6                       Me wanting to go fishing away from
7       everything for three or four days is not a crime.
8       Neither is it a crime for Mr. Woolley to want to get away
9       for whatever reasons he chooses as long as he is not
10      breaking the law, and he was not breaking the law in any
11      of those instances.
12                      Your Honor, as far as danger, he has
13      no criminal record, none, none whatsoever, your Honor.
14      He is a --
15                      THE COURT: Does that rebut a presumption,
16      Mr. Vegh?
17                      MR. VEGH: I don't necessarily believe it
18      rebuts the presumption, but along with some of the other
19      things I say, I believe that in and of itself is enough,
20      but I have more than that.
21                      He is a 27 year-old man who was honorably
22      discharged for medical reasons from the Army. He is 100
23      percent a disabled Veteran. Disability is a result of
24      his service to our country.
25                      His DD 214 indicates that he was honorably
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1       discharged for medical reasons, and he was awarded the
2       Army Good Conduct Medal, National Defense Service Medal,
3       Global War on Terrorist Service Medal, Army Service
4       Ribbon, Basic Aviation Badge, Expert Marksmanship Badge
5       with Carbine Bar, and Inherent Resolve Campaign Medal
6       with Campaign Star.
7                       He is not just a disabled Vet; he is a
8       highly decorated Vet.
9                       He has been receiving care at the VA since
10      coming back from the Army. He has also received care
11      from VA in different locations where he served.
12                      Your Honor, I would suggest to the Court
13      that his actions, his alleged actions that day was an
14      aberration in this young man's life.
15                      THE COURT: These are five pretty serious
16      aberrations, aren't they?
17                      MR. VEGH: Absolutely, Judge. I don't for
18      one second downplay the seriousness of these charges, I
19      don't. Also, as far as flight, doesn't have a car
20      because the car got repossessed. He doesn't have a
21      driver's license because his driver's license was in the
22      car when it got repossessed.
23                      He does have a passport to my understanding.
24      He does have a passport. It is at his parents' home.
25      The Court should grant him some condition of bond. I
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1       would make sure that that passport was surrendered to the
2       Clerk.
3                       He doesn't work because he is 100 percent
4       disabled, because of his service to our country. He has
5       medical issues that I would suggest to the Court would
6       not be adequately addressed at NEOCC.
7                       Anybody that knows anything about NEOCC,
8       that's the last place in the world you want to be with
9       any kind of serious medical condition whatsoever except
10      for maybe a headache.
11                      THE COURT: Was he treating his medical
12      condition before this?
13                      MR. VEGH: Yes, he was, and there were
14      periods of time when he lapsed as is very, very common in
15      these types of situations.
16                      THE COURT: Is that something the Court
17      should be concerned with if he were to be released, the
18      seriousness of the probability based on this conduct,
19      that some other conduct could be forthcoming during one
20      of these lapses?
21                      MR. VEGH: Well, I think, Judge, of course,
22      this Court should be concerned, but I think that there
23      are conditions that can be put on this young man that
24      would assure that he not reoffend, that he not flee,
25      and that he stay current with his therapies and
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1       medication.
2                       THE COURT: Well, I think the obvious one
3       would be some kind of GPS monitoring. What else would
4       you suggest could be a condition or combination of
5       conditions that would somehow tether him?
6                       MR. VEGH: I would think some sort of an
7       order that he obviously be highly supervised by pretrial,
8       and that he give them assurances that he is making all of
9       his appointments to the VA, taking the medications that
10      is prescribed by the VA and contact information at the VA
11      so that the probation officer can check up on him and
12      make sure he is doing what he is supposed to do.
13                      THE COURT: Does he have a family member who
14      can serve as a guardianship?
15                      MR. VEGH: His wife is sitting in the
16      courtroom.
17                      THE COURT: Is that yes?
18                      MR. VEGH: Yes. This young lady here behind
19      me. (Indicating.)
20                      THE COURT: Go ahead. I interrupted you,
21      which I don't want to do.
22                      MR. VEGH: That's okay, Judge. So your
23      Honor, I think there are conditions that can assure the
24      safety of the community. We just talked about them. I
25      think his risk of flight is minimal, minimal. He just
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1       doesn't have the means to go anywhere.
2                       Unless the Court has anymore questions for
3       me, that's all I have, Judge.
4                       THE COURT: So you believe that his wife has
5       the wherewithal to tell him to stop if he is in the midst
6       of an episode?
7                       MR. VEGH: Your Honor, I have had a lot of
8       conversations with Bree, and I know that he has -- she is
9       a 100 percent advocate for him, and I know she will do
10      whatever she can to ensure that he complies.
11                      THE COURT: So again, I am kind of stuck
12      with the Pretrial Services Report, and it is six months
13      old. I'm just trying to make sure I am reading it
14      correctly, no relationship with his parents.
15                      Is that correct?
16                      MR. VEGH: It is strained.
17                      THE COURT: I will take that as a no
18      relationship.
19                      He does have -- maintains a relationship
20      with his brother Jordan, correct?
21                      MR. VEGH: My understanding.
22                      THE COURT: It says that he is living with
23      his wife and father in law since November '21, but that
24      he is currently divorced.
25                      Is that correct?
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1                       MR. VEGH: Well, he was married previously.
2       The children that the prosecutor -- that Mr. Deckert
3       mentioned are the result of that marriage. So he is
4       divorced from that woman, and he is married to Bree
5       Wilson, his second.
6                       THE COURT: Okay. That's what I wasn't sure
7       of. Okay.
8                       I don't have any other questions, but thank
9       you very much. I appreciate the sensitive nature of this
10      issue, this case. This is an unusual case. Thank you.
11                      Mr. Deckert, would you like the last word
12      here?
13                      MR. DECKERT: No, your Honor. Thank you.
14                      THE COURT: Very well. Again, this is a
15      difficult circumstance in that the issue most clearly is
16      whether the Defendant has overcome the presumption. The
17      Court is going to take the matter of detention under
18      advisement. The Defendant shall remain in the custody of
19      the United States Marshal pending further order of the
20      Court.
21                      Is there anything further on behalf of the
22      United States?
23                      MR. DECKERT: No, your Honor. Thank you.
24                      THE COURT: Thank you, Mr. Deckert.
25                      Anything further on behalf of the Defendant?
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1                       MR. VEGH: No. And we thank the Court.
2                       THE COURT: Thank you. We are in recess.
3                       (Hearing concluded at 1:53 p.m.)
4                                 -----
5       State of Ohio,     )
                           )       SS:
6       County of Cuyahoga,)

7
8                        C E R T I F I C A T E

9
10                   I, George J. Staiduhar, within and for the

11      State of Ohio, do hereby certify that the above

12      transcript is a true and accurate record of the hearing

13      held before Magistrate Judge Johnathan D. Greenberg.

14      This record was prepared from the K Drive of the

15      Court's computer.

16                   IN WITNESS WHEREOF, I have hereunto set my

17      hand and seal of office in Cleveland, Ohio, on this

18      18th day of August A.D., 2023.

19
20
21                                     s/George J. Staiduhar
                                       George J. Staiduhar
22                                     Notary Public - State of Ohio
                                       My commission expires 8-1-2027
23
24
25
